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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                      :
JAKUB MADEJ                                           :
                                                      :       CIVIL ACTION NO.
                       PLAINTIFF                      :       3:20-cv-00133-JCH
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, MARVIN CHUN,                         :
MARK SCHENKER, PETER SALOVEY AND                      :
JESSIE ROYCE HILL                                     :
                                                      :
                       DEFENDANTS                     :
                                                      :       DECEMBER 7, 2020

             MOTION FOR EXPEDITED RULING ON MOTION TO QUASH

       The non-party witness, Sarah Insley, hereby moves for an expedited ruling on her Motion

to Quash. The deposition at issue was initially noticed by the plaintiff on November 30, 2020 and

are scheduled to occur on December 16, 2020. Since December 1, 2020, defense counsel has

attempted to reach an agreement with the plaintiff as to the manner of conducting the depositions.

While the plaintiff and defense counsel agreed that the depositions would be conducted via Zoom,

the plaintiff has refused to agree that he will follow the Federal Rules of Civil Procedure.

Specifically, he insists on administering the oath to Yale’s witnesses and to record the deposition

testimony himself, declining to agree that the depositions would be held before a qualified court

stenographer. After attempting to get the plaintiff’s agreement to follow the normal rules through

several e-mails, defense counsel last e-mailed the plaintiff on Thursday, December 3, 2020 and

informed the plaintiff that he would be filing a motion to quash if the plaintiff did not indicate his

agreement to follow the rules by the end of the weekend. As of the filing of Dean’s Insley’s Motion

to Quash more than four days later, the plaintiff has not responded to defense counsel’s e-mail.
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Since the depositions are scheduled to occur in one week, Dean Insley requests an expedited ruling

on her Motion to Quash.




                                                THE NON-PARTY WITNESS,

                                                SARAH INSLEY


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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